Case 1:22-cr-00675-PGG Document 23 Filed 01/04/23 Page 1 of 6

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

United States of America Protective Order

Vv. 22 Cr. 675 (PGG)

Lawrence Billimek and
Alan Williams,

Defendants.

 

 

Upon the application of the United States of America, with the consent of the undersigned
counsel, and the defendants having requested discovery under Fed. R. Crim. P. 16, the Court
hereby finds and orders as follows:

Categories

1. Disclosure Material. The Government will make disclosure to the defendants of
documents, objects and information, including electronically stored information (“ESI”), pursuant
to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s general
obligation to produce exculpatory and impeachment material in criminal cases, all of which will
be referred to herein as “Disclosure Material.” The Government’s Disclosure Material may include
material that (i) affects the privacy, confidentiality and business interests of individuals and
entities; (ii) would impede, if prematurely disclosed, the Government’s ongoing investigation of
uncharged individuals; (iii) would risk prejudicial pretrial publicity if publicly disseminated; (iv)
may be produced with more limited redactions than would otherwise be necessary; and (v) that is
not authorized to be disclosed to the public or disclosed beyond that which is necessary for the

defense of this criminal case.
Case 1:22-cr-00675-PGG Document 23 Filed 01/04/23 Page 2 of 6

2. Sealed Material. Certain of the Government’s Disclosure Material, referred to herein
as “Sealed Material,” contains information that identifies, or could lead to the identification of,
witnesses who may be subject to intimidation or obstruction, and whose lives, persons, and
property, as well as the lives, persons and property of loved ones, will be subject to risk of harm
absent the protective considerations set forth herein.

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

Disclosure and Treatment

1. Disclosure Material shall not be disclosed by the defendants or defense counsel,
including any successor counsel (“the defense”) other than as set forth herein, and shall be used
by the defense solely for purposes of defending this action. The defense shall not post any
Disclosure Material on any Internet site or network site, including any social media site such as
Facebook or Twitter, to which persons other than the parties hereto have access, and shall not
disclose any Disclosure Material to the media.

2. Sealed Material pertinent to any motion before the Court should initially be filed under
seal, absent consent of the Government or Order of the Court, and may be disclosed by defense
counsel to:

a. The defendants;
b. Personnel for whose conduct defense counsel is responsible, i.e., personnel
employed by or retained by counsel, as needed for purposes of defending this action; and

c. Prospective witnesses for purposes of defending this action.
Case 1:22-cr-00675-PGG Document 23 Filed 01/04/23 Page 3 of 6

Other Provisions

3. This Order does not prevent the disclosure of any Disclosure Material in any hearing
or trial held in this action, or to any judge or magistrate judge, for purposes of this action. All
filings should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1 and the above
provisions referencing sealing of certain Disclosure Material.

4. The Government’s designation of material will be controlling absent contrary order of
the Court. However, the Government may authorize, in writing, disclosure of Disclosure Material
beyond that otherwise permitted by this Order without further Order of this Court.

5. The defense shall provide a copy of this Order to prospective witnesses and persons
retained by counsel to whom the defense has disclosed Disclosure Material. All such persons shall
be subject to the terms of this Order. Defense counsel shall maintain a record of what information
has been disclosed to which such persons.

6. Except for Disclosure Material that has been made part of the record of this case, the
defense shall return to the Government or securely destroy or delete all Disclosure Material,
including any ESI, within 30 days of the expiration of the period for direct appeal from any verdict
in the above-captioned case; the period of direct appeal from any order dismissing any of the
charges in the above-captioned case; and the granting of any motion made on behalf of the
Government dismissing any charges in the above-captioned case, whichever date is later, subject
to defense counsel’s obligation to retain client files under the Rules of Professional Conduct. If

Disclosure Material is provided to any personnel for whose conduct defense counsel is responsible

 

 

 
Case 1:22-cr-00675-PGG Document 23 Filed 01/04/23 Page 4 of 6

or prospective witnesses, defense counsel shall make reasonable efforts to seek the return or
destruction of such materials.

7. This Order places no restriction on a defendants’ use or disclosure of ESI or other
Disclosure Material that originally belonged to the defendants.

8. The Government has advised that information that may be subject to disclosure in this
case may be contained within ESI that the Government has seized, pursuant to warrants issued
during the course of the investigation, from various computers, cell phones, and other devices and
storage media. This ESI was seized from: Lawrence Billimek, Alan Williams, Google, Inc.,
Yahoo, Inc., Apple, Inc., Verizon Wireless, AT&T, and T-Mobile. Upon consent of all counsel,
the Government is authorized to disclose to defense counsel for each defendant the entirety of such
seized ESI, which shall be deemed Sealed Material unless otherwise designated.

9. Disclosure Material provided to the defense may also be used in United States
Securities and Exchange Commission v. Lawrence Billimek and Alan Williams, No. 22 Civ. 10542,

provided that such use is consistent with the restrictions set forth above for Sealed Material.

 

 
Case 1:22-cr-00675-PGG Document 23 Filed 01/04/23 Page 5 of 6

Retention of Jurisdiction
10. The provisions of this order shall not terminate at the conclusion of this criminal
prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.

AGREED AND CONSENTED TO:

DAMIAN WILLIAMS
United States Attorney

by: _ /s/ Daniel Tracer Date: 1/4/2023
Jason Richman / Daniel Tracer
Assistant United States Attorneys

 

 

/s/ Telemachus P. Kasulis Date: —_ 1/4/2023

 

Telemachus P. Kasulis, Esq.
Counsel for Lawrence Billimek

Date:

 

 

Jeffrey Einhorn, Esq.
Counsel for Alan Williams
SO ORDERED:

Dated: New York, New York
January _, 2023

 

 

THE HONORABLE PAUL G. GARDEPHE
UNITED STATES DISTRICT JUDGE
Case 1:22-cr-00675-PGG Document 23 Filed 01/04/23 Page 6 of 6

Retention of Jurisdiction
10. The provisions of this order shall not terminate at the conclusion of this criminal
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the case.

AGREED AND CONSENTED TO:

DAMIAN WILLIAMS
United States Attorney

by: Date:
Jason Richman / Daniel Tracer
Assistant United States Attorneys

 

 

Date:

 

 

Telemachus P. Kasulis, Esq.
Counsel for Lawrence Billimek

 

Date: i/z [oz
fof

 

SO ORDERED:

Dated: New York, New York
January uy , 2023 rs
J, . ‘
alr andor:
THE HONORABLE PAUL G’ GARDEPHE
UNITED STATES DISTRICT JUDGE
